              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:04-cr-00043-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                   ORDER
                                 )
BILLY EUGENE PROFFITT, JR.       )
________________________________ )

      THIS MATTER is before the Court pursuant to 18 United States Code

§ 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

      The Defendant has filed a motion for a reduction of his sentence. [Doc.

335]. The Probation Office has submitted a supplement to the Defendant’s

Presentence Report (“PSR”) in this matter.              [Doc. 339].         The

recommendation given by the Probation Office is different from the relief

sought by the Federal Defenders of WNC, Inc. Based thereon, the Court

determines that the United States Attorney and the Federal Defenders of

WNC, Inc., should provide the Court with their respective positions regarding

the PSR supplement.

      IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

the entry of this Order, the United States Attorney and the Federal Defenders

of WNC, Inc., shall file pleadings responsive to the Probation Officer’s PSR

supplement filed in this matter.


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                       IT IS SO ORDERED.
Signed: May 13, 2015




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